      Case 1:23-cv-22276-BB Document 77-2 Entered on FLSD Docket 09/08/2023 Page 1 of 5




From:                                        Haft, David <David.Haft@lewisbrisbois.com>
Sent:                                        Tuesday, August 29, 2023 4:03 PM
To:                                          Gina Guzman; Pasternak, Aviva; david@dhaftlaw.com
Cc:                                          Lisa Alvarez; Gina Salcedo
Subject:                                     RE: 23M-1963 // 1100 Biscayne Blvd #4401, Miami, FL 33132 // Emperatriz Gomez


Ms. Guzman—

The payoﬀ for the below lis pendens is $1,400,000.00. Please let me know if you need me to provide you with wire
instruc ons. Please also advise regarding the amount of the proposed sale price and expected closing date for this
transac on and, if available, the names and contact informa on for the Seller’s agent(s) and/or a orneys.

Thank you.

                                                    David H. Haft
                                                    Partner
                                                    David.Haft@lewisbrisbois.com

                                                    T: 954.828.0357 F: 954.678.4090

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this email and any attachment from your computer and any of your electronic devices where the message is stored.
From: Gina Guzman <ginaguzman@nuworldtitle.com>
Sent: Tuesday, August 29, 2023 12:28 PM
To: Haft, David <David.Haft@lewisbrisbois.com>; Pasternak, Aviva <Aviva.Pasternak@lewisbrisbois.com>;
david@dhaftlaw.com
Cc: Lisa Alvarez <lisa@nuworldtitle.com>; Gina Salcedo <gina@nuworldtitle.com>
Subject: [EXT] RE: 23M‐1963 // 1100 Biscayne Blvd #4401, Miami, FL 33132 // Emperatriz Gomez

Good afternoon,

We are reaching out to you regarding the attached lis pendens please provide a payoff.

10. Dismissal of li ga on with prejudice and discharge of the Lis Pendens filed in Case styled Patrick Muller, an individual, and
Mouna Bouzid, an individual vs. Iteb Zaibet, an individual and Lolita C. Rebulard, an individual and Luxury Proper es Trust, being
Case No. 23‐CV‐22276‐BB in Miami‐Dade County, Florida, as disclosed by No ce of Lis Pendens recorded in Oﬃcial Records Book
33766, Page 4243 and Oﬃcial Records Book 33766, Page 4245.




                                                                              1
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Thank you! 😊

*Please reply to all on this email.

Please note, based on our Underwriting instructions as Settlement Agent, sale
proceeds will be paid only to the owner of record. Our Underwriting companies do
not authorize the payment of sale or loan proceeds to any party other than the
seller or borrower on title, NO EXCEPTIONS!!

****IMPORTANT NOTICE: Email Phishing Scams are on the rise – please note that all of our bank
accounts are with BANESCO USA. If you receive any emails listing another banking institution
other than BANESCO USA, please contact our office IMMEDIATELY. We will NEVER ask you to wire
funds in advance of closing, we will ONLY ask you to wire once we have been able to provide
you a copy of your closing figures to review. PROTECT YOURSELF AND YOUR FUNDS ‐ ALWAYS CALL
YOUR DEDICATED PROCESSOR/CLOSER BEFORE WIRING ANY FUNDS!! For further information, please see
the attached link: https://www.consumer.ftc.gov/articles/how‐recognize‐and‐avoid‐phishing‐
scams

**IMPORTANT NOTICE: Always independently confirm wiring instructions verbally with a call to a
trusted and verified phone number. Never wire money without double-checking that the wiring
instructions are correct.**

***PLEASE NOTE: CASH TO CLOSE for real estate transactions over $15,000.00 must be WIRED to our
account prior to closing. Wire instructions will be provided upon request***


Best Regards,
                                      Gina Guzman
                                      Processor/Closer
                                      Nu World Title, LLC.
                                      12741 Miramar Parkway Suite 101
                                      Miramar, FL 33027
                                      Direct: (954) 361-1332
                                      Office: (954) 719-5685
                                      Fax: (954) 212-0497
                                      Email:ginaguzman@nuworldtitle.com
                                      Website: www.nuworld tle.com
                                       Visit us at:




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Other oﬃce loca ons:
Bird Road | Kendall | West Kendall |Central Florida | Davie | Ft. Lauderdale | Miami Lakes|Wellington | Sunset |
New Jersey


“Make a diﬀerence today for someone who’s figh ng for their tomorrow.”


At NU World Title, LLC, we pride ourselves on providing you with excellent customer service. It is our collective goal to
provide you with the highest degree of professional service on every transaction. If we have met your expectations, please let us
know! However, if we have fallen short in meeting our goal, please contact my regional manager Denise Villar at
Dvillar@nuworldtitle.com. Please include the subject property address as reference.



From: Gina Guzman
Sent: Tuesday, August 29, 2023 12:13 PM
To: david.haft@lewisbrisbois.com; aviva.pasternak@lewisbrisbois.com
Cc: Lisa Alvarez <lisa@nuworldtitle.com>; Gina Salcedo <gina@nuworldtitle.com>
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    Case 1:23-cv-22276-BB Document 77-2 Entered on FLSD Docket 09/08/2023 Page 4 of 5
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                                      Fax: (954) 212-0497
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                                      Website: www.nuworld tle.com
                                       Visit us at:




                                                      4
     Case 1:23-cv-22276-BB Document 77-2 Entered on FLSD Docket 09/08/2023 Page 5 of 5




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New Jersey


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